Case 2:24-cv-02692-JFW-MBK    Document 113 Filed 04/21/25   Page 1 of 33 Page ID
                                   #:16664


  1
  2
  3
  4
  5
  6                      UNITED STATES DISTRICT COURT
  7                     CENTRAL DISTRICT OF CALIFORNIA
  8
  9   Torrance Airport Association, )Case No.: CV 24-2692-JFW(MBKx)
                                    )
10                   Plaintiff,     )SCHEDULING AND CASE MANAGEMENT
                                    )ORDER
11         v.                       )
                                    )
12                                  )
      City of Torrance,             )
13                                  )
                     Defendants.    )
14    _____________________________ )
15        The purpose of this Order is to notify the parties and
16    their counsel of the deadlines and the schedule that will
17    govern this action.       SEE THE LAST PAGE OF THIS ORDER FOR THE
18    SPECIFIED DATES.       Ordinarily, the dates set forth on the last
19    page are determined after reviewing the parties’ Joint Report
20    or consultation with the parties at the Scheduling
21    Conference.    Accordingly, the dates and requirements are
22    firm.   The Court is very unlikely to grant continuances, even
23    if stipulated to by the parties, unless the parties establish
24    good cause through a concrete showing.           Because this Order in
25    some respects modifies the applicable Local Rules, counsel
26    are advised to read it carefully to avoid default on the
27    obligations established herein.          Counsel are advised to pay
28    particular attention to the requirements of the Court with
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 2 of 33 Page ID
                                  #:16665


  1   respect to electronic filing, the filing of motions for
  2   summary judgment, and the documents to be submitted at the
  3   Pre-Trial Conference and Trial.
  4   1.   ELECTRONIC FILING AND COURTESY COPIES
  5        The parties shall comply with Section 3 of the Court’s
  6   Standing Order with respect to electronic filing and courtesy
  7   copies.
  8   2.   DISCOVERY
  9        All discovery shall be completed by the discovery cut-off
10    date specified on the last page of this Order.             THIS IS NOT
11    THE DATE BY WHICH DISCOVERY REQUESTS MUST BE SERVED; IT IS
12    THE DATE BY WHICH ALL DISCOVERY, INCLUDING EXPERT DISCOVERY,
13    SHALL BE COMPLETED.      The Court does not enforce side
14    agreements to conduct discovery beyond the discovery cut-off
15    date.
16         Any motion challenging the adequacy of responses to
17    discovery must be heard sufficiently in advance of the
18    discovery cut-off date to permit the responses to be obtained
19    before that date if the motion is granted.
20         In an effort to provide further guidance to the parties,
21    the Court notes the following:
22         (a)   Depositions
23         All depositions shall be scheduled to commence
24    sufficiently in advance of the discovery cut-off date to
25    permit their completion and to permit the deposing party
26    enough time to bring any discovery motions concerning the
27    deposition prior to the cut-off date.
28    / / /

                                          2
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 3 of 33 Page ID
                                  #:16666


  1       (b)    Written Discovery
  2       All interrogatories, requests for production of
  3   documents, and requests for admissions shall be served
  4   sufficiently in advance of the discovery cut-off date to
  5   permit the discovering party enough time to challenge (via
  6   motion practice) responses deemed to be deficient.
  7       (c)    Discovery Motions
  8       Whenever possible, the Court expects the parties to
  9   resolve discovery issues among themselves in a courteous,
10    reasonable, and professional manner.          If they do so, resort
11    to the Court for guidance in discovery is seldom necessary.
12    The Magistrate Judge assigned to this case will rule on
13    discovery motions and protective orders.
14        (d)    Expert Discovery
15        If expert witnesses are to be called at trial, the
16    parties shall designate affirmative experts to be called at
17    trial and shall provide reports required by Fed.R.Civ.P.
18    26(a)(2)(B) not later than eight weeks prior to the discovery
19    cut-off date.    Rebuttal expert witnesses shall be designated
20    and reports provided as required by Fed.R.Civ.P. 26(a)(2)(B)
21    not later than five weeks prior to the discovery cut-off
22    date.   Any non-retained expert designated by a party as an
23    affirmative or rebuttal expert shall also prepare and provide
24    an expert report in the form described by Fed.R.Civ.P.
25    26(a)(2)(B).    Expert witnesses will be bound by the opinions
26    expressed in their reports prepared in accordance with
27    Fed.R.Civ.P. 26(a)(2)(B) and will not be permitted to offer
28    new opinions at trial.       Failure to timely comply with this

                                          3
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25     Page 4 of 33 Page ID
                                  #:16667


  1   deadline will result in the expert being excluded at trial as
  2   a witness.
  3   3.   MOTIONS - GENERAL PROVISIONS
  4        All law and motion matters, except for motions in limine,
  5   must be set for hearing (not filed) by the motion cut-off
  6   date specified on the last page of this Order.               The Court
  7   will deny or strike late-filed motions.              The title page of
  8   all motions must state the hearing date and time for the
  9   motion, the Pre-Trial Conference date, and the Trial date.
10         Once a party has noticed a motion for hearing on a
11    particular date, the hearing shall not be continued without
12    leave of Court. If the Court concludes that a motion can be
13    resolved without argument, the Court will notify the parties
14    in advance.
15         If counsel does not intend to oppose a motion, counsel
16    shall immediately inform the Courtroom Deputy by e-mail and
17    immediately file a Notice of Non-Opposition in accordance
18    with the Local Rules.      The parties should note that failure
19    to timely respond to any motion shall be deemed by the Court
20    as consent to the granting of the motion.              See Local Rules.
21         Ex parte practice is strongly discouraged.               The Court
22    will require strict adherence to proper ex parte procedures
23    for any ex parte application filed with the Court.                See Local
24    Rules and the Court’s Standing Order.
25         (a) Applications and Stipulations to Extend Time
26         No application or stipulation to extend the time to file
27    any required document or to continue any date is effective
28    unless and until the Court approves it.              Any application or

                                          4
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 5 of 33 Page ID
                                  #:16668


  1   stipulation to extend the time to file any required document
  2   or to continue any date must set forth the following:
  3             (1) the existing due date or hearing date, as well
  4   as all dates set by the Court, including the discovery cut-
  5   off date, the Pre-Trial Conference date, and the Trial date;
  6             (2) the new dates proposed by the parties;
  7             (3) specific, concrete reasons supporting good
  8   cause for granting the extension; and
  9             (4) whether there have been prior requests for
10    extensions by any party, and whether those requests were
11    granted or denied by the Court.
12        The application or stipulation must be accompanied by a
13    separate proposed order.       The proposed order shall include
14    the existing due date(s) or hearing date(s) as well as the
15    new proposed date(s).
16        Failure to comply with the provisions of this section may
17    result in the denial of the application or stipulation.
18        (b) Joinder of Parties and Amendment of Pleadings
19        The deadline for joining parties and amending pleadings
20    is sixty days from the date of this Order.            Any motions to
21    join other parties or for leave to amend the pleadings shall
22    be filed within twenty days of the date of this Order so that
23    they can be heard and decided prior to the deadline.
24        In addition to the requirements of the Local Rules, all
25    motions to amend the pleadings shall: (1) state the effect of
26    the amendment; and (2) state the page, line number(s), and
27    wording of any proposed change or addition of material.               The
28    parties shall file and deliver to Chambers a redlined version

                                          5
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 6 of 33 Page ID
                                  #:16669


  1   of the proposed amended pleading indicating all additions
  2   and/or deletions of material.
  3        (c) Withdrawal or Substitution of Counsel
  4        The Court will not grant a request for approval of
  5   substitution of counsel after an action has been set for
  6   trial unless: (1) counsel files the request using the most
  7   recent version of the appropriate forms provided on the
  8   Court’s website; and (2) the request is accompanied by a
  9   declaration signed by a substituting attorney indicating that
10    such attorney has been advised of the trial date and will be
11    prepared to proceed with trial as scheduled.            Any request for
12    substitution of counsel which is not on the proper form or is
13    not accompanied by a declaration signed by a substituting
14    attorney as set forth above will be denied.
15         Counsel who wish to withdraw and substitute their client
16    pro se must file a regularly noticed motion to withdraw which
17    demonstrates good cause for the request to withdraw.               The
18    Court will not consider such a motion unless: (1) the motion
19    is accompanied by a declaration signed by the client
20    indicating that the client consents to the withdrawal, has
21    been advised of the time and date of trial, and will be
22    prepared to represent themselves pro se on the scheduled
23    trial date; or (2) the Court is otherwise satisfied for good
24    cause shown that the attorney should be permitted to
25    withdraw.
26    4.   SUMMARY JUDGMENT MOTIONS
27         The Court will only entertain ONE summary judgment motion
28    by a party.    In the event a party believes that more than one

                                          6
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 7 of 33 Page ID
                                  #:16670


  1   summary judgment motion is necessary to expedite the
  2   resolution of issues in the action, the party must obtain
  3   leave of court to file more than one summary judgment motion.
  4   The Court will require strict adherence to the following
  5   requirements:
  6       (a) Statement Of Uncontroverted Facts and Conclusions of
  7             Law and Statement of Genuine Disputes of Material
  8             Fact
  9       The Statement of Uncontroverted Facts and Conclusions of
10    Law is to be prepared in a two column format.             The left hand
11    column should set forth the allegedly undisputed fact or
12    conclusion of law.      The right hand column should set forth
13    the evidence that supports the factual statement or
14    conclusion of law.      The factual statements and conclusions of
15    law should be set forth in sequentially numbered paragraphs.
16    Each paragraph should contain a narrowly focused statement of
17    fact or conclusion of law.        Each numbered paragraph should
18    address a single subject in as concise a manner as possible.
19        The opposing party’s Statement of Genuine Disputes of
20    Material Fact must track the movant’s Statement of
21    Uncontroverted Facts exactly as prepared.            The document must
22    be in two columns; the left hand column must restate the
23    allegedly undisputed fact, and the right hand column must
24    restate the moving party’s evidence in support of the fact,
25    and indicate either undisputed or disputed.            The opposing
26    party may dispute all or only a portion of the statement, but
27    if disputing only a portion, must clearly indicate what part
28    is being disputed.      Where the opposing party is disputing the

                                          7
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 8 of 33 Page ID
                                  #:16671


  1   fact in whole or part, the opposing party must, in the right
  2   hand column, set forth the evidence controverting the fact.
  3   Where the opposing party is disputing the fact on the basis
  4   of an evidentiary objection, the party must cite to the
  5   evidence alleged to be objectionable and state the ground of
  6   the objection and nothing more.         Counsel are reminded that
  7   unwarranted factual denials made in the context of a Summary
  8   Judgment Motion are subject to Rule 11 sanctions.              No
  9   argument should be set forth in this document.
10        The opposing party may submit additional material facts
11    that bear on or relate to the issues raised by the movant,
12    which shall follow the format described above for the moving
13    party’s Statement of Uncontroverted Facts.            These additional
14    facts shall follow the movant’s facts, shall continue in
15    sequentially numbered paragraphs (i.e., if movant’s last
16    statement of fact was set forth in paragraph 30, then the
17    first new fact will be set forth in paragraph 31), and the
18    evidence that supports the new fact shall be set forth in the
19    right hand column.
20        The moving party, together with its reply, shall file a
21    separate document entitled “Combined Statement of Facts” that
22    (1) restates the entirety of the opposing party’s Statement
23    of Genuine Disputes of Material Fact and (2) responds to any
24    additional facts in the same manner and format that the
25    opposing party must follow in responding to the Statement of
26    Uncontroverted Facts, as described above.
27    / / /
28    / / /

                                          8
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 9 of 33 Page ID
                                  #:16672


  1       (b) Supporting Evidence
  2       No party should submit any evidence other than the
  3   specific items of evidence or testimony necessary to support
  4   or controvert a proposed statement of undisputed fact.               Thus,
  5   for example, entire sets of interrogatory responses, or
  6   documents that do not specifically support or controvert
  7   material in the Statements should not be submitted in support
  8   of or in opposition to a motion for summary judgment.               Any
  9   such material will not be considered.
10        Evidence submitted in support of or in opposition to a
11    motion for summary judgment should be submitted either by way
12    of stipulation or as exhibits to declarations sufficient to
13    authenticate the proffered evidence, and should not be
14    attached to the memorandum of points and authorities.               The
15    Court will accept counsel’s authentication of deposition
16    transcripts, written discovery responses, and the receipt of
17    documents in discovery if the fact that the document was in
18    the opponent’s possession is of independent significance.
19    Documentary evidence as to which there is no stipulation
20    regarding foundation must be accompanied by the testimony,
21    either by declaration or properly authenticated deposition
22    transcript, of a witness who can establish its authenticity.
23        All exhibits submitted in support of, and in opposition
24    to, a motion for summary judgment shall be consecutively
25    numbered; no two exhibits shall bear the same number.               For
26    example, if the moving party submits one declaration and one
27    request for judicial notice, with four exhibits attached to
28    each document, the exhibits attached to the declaration shall

                                          9
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 10 of 33 Page
                                 ID #:16673


 1   be marked 1 through 4, and the exhibits attached to the
 2   request for judicial notice shall be marked 5 through 8.               The
 3   opposing party’s exhibits shall then commence with number 9.
 4   Immediately above or below the page number on each page of an
 5   exhibit, the parties shall mark “[Party Name]’s Summary
 6   Judgment Exhibit No. __”.
 7        All exhibits shall be separately filed on CM/ECF, and
 8   each exhibit on the docket shall include a meaningful
 9   description such that the exhibit can be easily identified.
10   For example, if a declaration in support of a motion for
11   summary judgment appears as Docket No. 30, exhibit 1 to the
12   declaration should be filed as Docket No. 30-1 with a
13   description of the exhibit that includes the title of the
14   exhibit and the exhibit number (e.g., Exhibit 1: Letter from
15   John Doe to Jane Doe dated January 1, 2021).            Exhibit 2 to
16   the declaration should be filed as Docket No. 30-2 with a
17   description of the exhibit which includes the title of the
18   exhibit and exhibit number (Exhibit 2: Letter from Jane Doe
19   to John Doe dated January 2, 2021), and so on.
20        In addition to the foregoing, any party who offers
21   deposition testimony in support of or in opposition to a
22   motion for summary judgment shall prepare and file a separate
23   document for each deponent which contains only those
24   questions and answers, and any objections made at the time of
25   the deposition to those questions, that a party is relying on
26   to support their motion, with a citation to the appropriate
27   page and line number(s) in the deposition transcript.
28   / / /

                                         10
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 11 of 33 Page
                                 ID #:16674


 1        The parties shall also deliver to chambers (but not file)
 2   one copy of the entire deposition transcript (single-sided
 3   condensed transcript including the word index) of each
 4   deposition referenced.       The deposition transcripts shall be
 5   placed in a slant D-ring binder with each transcript
 6   separated by a tab divider on the right side and three-hole
 7   punched at the left margin with the oversized 13/32" hole
 8   size, not the standard 9/32" hole size.           The deposition
 9   transcript binder shall include a Table of Contents and the
10   spine of each binder shall be labeled with its contents.
11        Courtesy Copies of all evidence in support of and in
12   opposition to a motion for summary judgment shall be provided
13   to the Court in accordance with Section 3 of the Court’s
14   Standing Order.
15        In addition to the foregoing, the parties shall meet and
16   confer and prepare two binders, one binder containing a joint
17   set of all exhibits relied on by the parties in support of
18   and in opposition to the motion for summary judgment (“Joint
19   Exhibit Binder”), and the other binder containing a joint set
20   of all declarations relied on by the parties in support of
21   and in opposition to the motion for summary judgment (“Joint
22   Declarations Binder”).       The parties shall file the Joint Set
23   of Exhibits with a cover page titled “Joint Set of Exhibits”
24   and the Joint Set of Declarations with a cover page titled
25   “Joint Set of Declarations” with the Reply.            The parties
26   shall also deliver to Chambers Courtesy Copies of both the
27   Joint Exhibit Binder and Joint Declarations Binder in
28   accordance with Section 3 of the Court’s Standing Order.

                                         11
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 12 of 33 Page
                                 ID #:16675


 1        The Joint Exhibit Binder and Joint Declarations Binder
 2   shall include a Table of Contents, and the spine of each
 3   binder shall be labeled with its contents.            The Table of
 4   Contents for the Joint Exhibit Binder and Joint Declarations
 5   Binder shall specifically describe each summary judgment
 6   exhibit or declaration and include a citation to each
 7   paragraph number in the Combined Statement of Facts that
 8   refers to the exhibit or declaration (e.g. Plaintiff’s
 9   Summary Judgment Exhibit No. 1 - Letter from John Doe to Jane
10   Doe dated January 1, 2007 Re: Reasons for Jane Doe’s
11   termination) (Combined Statement of Facts Nos. 2, 8, 10).                  In
12   preparing the Table of Contents, counsel should not create a
13   new set of exhibit numbers.        Counsel shall use the same
14   exhibit numbers that were used to identify the documents in
15   the Motion for Summary Judgment.
16        When filing the Joint Set of Exhibits and Joint Set of
17   Declarations electronically, each exhibit or declaration
18   shall be separately filed on CM/ECF and the description of
19   the exhibit or declaration on the docket shall track the
20   description of the exhibit or declaration in the Table of
21   Contents.
22        (c) Objections to Evidence
23        If a party disputes a fact based in whole or in part on
24   an evidentiary objection, the ground for the objection, as
25   indicated above, should be stated in the Statement of Genuine
26   Disputes of Material Fact or Combined Statement of Facts but
27   not argued in that document.        Evidentiary objections are to
28   be addressed in a separate memorandum to be filed with the

                                         12
Case 2:24-cv-02692-JFW-MBK     Document 113 Filed 04/21/25   Page 13 of 33 Page
                                   ID #:16676


 1   opposition or reply brief of the party.             This memorandum
 2   should be organized to track the paragraph numbers of the
 3   Statement of Genuine Disputes of Material Fact or Combined
 4   Statement of Facts in sequence.            It should identify the
 5   specific item of evidence to which objection is made, or in
 6   the case of deposition testimony it should quote the relevant
 7   testimony, the ground for the objection, and a very brief
 8   argument with citation to authority as to why the objection
 9   is well taken.     The following is an example of the format
10   required by the Court:
11        Combined Statement of Facts Paragraph 10: Objection to
12        the supporting deposition testimony of Jane Smith [quote
13        testimony] at 60:1-10 on the grounds that the statement
14        constitutes inadmissible hearsay and no exception is
15        applicable.        To the extent it is offered to prove
16        her state of mind, it is irrelevant because her
17        state of mind is not in issue.           Fed. R. Evid. 801,
18        802.
19   DO NOT SUBMIT BLANKET OR BOILERPLATE OBJECTIONS TO THE
20   OPPONENT’S STATEMENT OF FACTS. THESE WILL BE DISREGARDED AND
21   OVERRULED.
22        (d) The Memorandum of Points and Authorities
23        The movant’s memorandum of points and authorities should
24   be in the usual form required under Local Rules and should
25   contain a narrative statement of facts as to those aspects of
26   the case that are before the Court.            All facts should be
27   supported with citations to the paragraph number in the
28   / / /

                                           13
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 14 of 33 Page
                                 ID #:16677


 1   Statement of Uncontroverted Facts that supports the factual
 2   assertion and not to the underlying evidence.
 3        Unless the case involves some unusual twist, the motion
 4   need only contain a brief statement of the Fed.R.Civ.P. 56
 5   standard; the Court is familiar with the Rule and with its
 6   interpretation under Celotex and its progeny.             If at all
 7   possible, the argument should be organized to focus on the
 8   pertinent elements of the claim(s) for relief or defense(s)
 9   at issue, with the purpose of showing the existence or non-
10   existence of a genuine issue of material fact for trial on
11   that element of the claim or defense.
12        Likewise, the opposition memorandum of points and
13   authorities should be in the usual form required by the Local
14   Rules.    Where the opposition memorandum sets forth facts,
15   those facts should be supported with citations to the
16   paragraph number in the Statement of Genuine Disputes of
17   Material Fact and not to the underlying evidence.
18        (e) Proposed Statement of Decision
19        No more than two days after the deadline for filing the
20   Reply, each party shall lodge a Proposed Statement of
21   Decision, which shall contain a statement of the relevant
22   facts and applicable law with citations to case law and the
23   record.    The Proposed Statement of Decision shall not exceed
24   twenty pages and shall be in a form that would be appropriate
25   for the Court to enter as its final order on the motion.               The
26   Proposed Statement of Decision shall be submitted to the
27   Court in accordance with the Local Rules and shall be
28   e-mailed in WordPerfect or Word format to the Chambers’

                                         14
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 15 of 33 Page
                                 ID #:16678


 1   e-mail address (JFW_Chambers@cacd.uscourts.gov) at the time
 2   of filing.     Failure to lodge the Proposed Statement of
 3   Decision will result in the denial or granting of the motion.
 4        (f) Timing
 5        Parties should not wait until the motion cut-off date to
 6   bring motions for summary judgment or partial summary
 7   judgment.     Early completion of non-expert discovery and
 8   filing of motions for summary judgment may eliminate or
 9   reduce the need for expensive expert depositions which are
10   normally conducted in the last stages of discovery.
11        Caveat:    Failure of the moving party to comply with these
12   procedures regarding summary judgment motions will result in
13   the denial of the Motion for Summary Judgment.             If a party
14   fails to respond to a Motion for Summary Judgment, the Court
15   will assume that the material facts as claimed and adequately
16   supported by the moving party are admitted to exist without
17   controversy, which will likely result in the granting of the
18   Motion for Summary Judgment.
19   5.   MOTIONS IN LIMINE
20        The Court will only entertain a maximum of five motions
21   in limine by a party.       In the event a party believes that
22   more than five motions in limine are necessary, the party
23   must obtain leave of Court to file more than five motions in
24   limine.     The Court will not hear or resolve motions in limine
25   that are disguised summary judgment motions.            No application
26   to file under seal will be granted with respect to a motion
27   in limine or any documents submitted with the motion in
28   limine.

                                         15
Case 2:24-cv-02692-JFW-MBK    Document 113 Filed 04/21/25   Page 16 of 33 Page
                                  ID #:16679


 1        Before filing any motion in limine, lead counsel for the
 2   parties shall confer in a good faith effort to eliminate the
 3   necessity for hearing the motion in limine or to eliminate as
 4   many of the disputes as possible.          It shall be the
 5   responsibility of counsel for the moving party to arrange for
 6   this conference.        The conference shall take place in person
 7   within ten calendar days of service upon opposing counsel of
 8   a letter requesting such conference, but in no event later
 9   than twenty-one days before the Pre-Trial Conference.                Unless
10   counsel agree otherwise, the conference shall take place at
11   the office of the counsel for the moving party.              If lead
12   counsel are not both located within the Central District, the
13   conference may take place via video (letters and e-mail, for
14   example, do not constitute a proper conference).
15        The moving party’s letter shall identify the testimony,
16   exhibits, or other specific matters alleged to be
17   inadmissible and/or prejudicial, shall state briefly with
18   respect to each such matter the moving party’s position (and
19   provide any legal authority that the moving party believes is
20   dispositive), and shall specify the terms of the order to be
21   sought.
22        If counsel are unable to resolve their differences, they
23   shall prepare and file a separate, sequentially numbered
24   Joint Motion in Limine for each issue in dispute which
25   contains a clear caption which identifies the moving party
26   and the nature of the dispute (e.g., “Plaintiff’s Motion in
27   Limine #1 to exclude the testimony of Defendant’s expert”).
28   Each Joint Motion in Limine shall consist of one document

                                          16
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 17 of 33 Page
                                 ID #:16680


 1   signed by all counsel.       The Joint Motion in Limine shall
 2   contain a clear identification of the testimony, exhibits, or
 3   other specific matters alleged to be inadmissible and/or
 4   prejudicial and a statement of the specific prejudice that
 5   will be suffered by the moving party if the motion is not
 6   granted.   The identification of the matters in dispute shall
 7   be followed by each party’s contentions and each party’s
 8   memorandum of points and authorities.          The title page of the
 9   Joint Motion in Limine must state the Pre-Trial Conference
10   date, hearing date for the motions in limine, and Trial date.
11        Joint Motions in Limine made for the purpose of
12   precluding the mention or display of inadmissible and/or
13   prejudicial matter in the presence of the jury shall be
14   accompanied by a declaration that includes the following:
15   (1) a clear identification of the specific matter alleged to
16   be inadmissible and/or prejudicial; (2) a representation to
17   the Court that the subject of the motion in limine has been
18   discussed with opposing counsel, and that opposing counsel
19   has either indicated that such matter will be mentioned or
20   displayed in the presence of the jury before it is admitted
21   in evidence or that counsel has refused to stipulate that
22   such matter will not be mentioned or displayed in the
23   presence of the jury unless and until it is admitted in
24   evidence; and (3) a statement of the specific prejudice that
25   will be suffered by the moving party if the motion in limine
26   is not granted.
27   / / /
28   / / /

                                         17
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 18 of 33 Page
                                 ID #:16681


 1        Unless ordered by the Court, no supplemental or separate
 2   memorandum of points and authorities shall be filed by either
 3   party in connection with any motion in limine.
 4        The Court’s Courtesy Copies shall be provided to the
 5   Court in accordance with Section 3 of the Court’s Standing
 6   Order.
 7        The Court will not consider any motion in limine in the
 8   absence of a joint motion or a declaration from counsel for
 9   the moving party establishing that opposing counsel: (1)
10   failed to confer in a timely manner; (2) failed to provide
11   the opposing party’s portion of the joint motion in a timely
12   manner; or (3) refused to sign and return the joint motion
13   after the opposing party’s portion was added.
14        Unless otherwise ordered by the Court, motions in limine
15   should be filed and will be heard on the dates specified on
16   the last page of this Order.        Unless the Court in its
17   discretion otherwise allows, no motions in limine shall be
18   filed or heard on an ex parte basis, absent a showing of
19   irreparable injury or prejudice not attributable to the lack
20   of diligence of the moving party.
21        The failure of any counsel to comply with or cooperate in
22   the foregoing procedures will result in the imposition of
23   sanctions, including a resolution of the issue against the
24   party refusing to cooperate.
25   / / /
26   / / /
27   / / /
28   / / /

                                         18
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 19 of 33 Page
                                 ID #:16682


 1   6.    PRE-TRIAL CONFERENCE AND LOCAL RULE 16 FILINGS
 2         (a) General Provisions
 3         The Pre-Trial Conference (“PTC”) will be held on the date
 4   specified on the last page of this Order, unless the Court
 5   expressly waived a PTC.
 6         The lead trial attorney on behalf of each party shall
 7   attend both the PTC and all meetings of the parties in
 8   preparation for the PTC, unless excused for good cause shown
 9   in advance of the PTC.
10         A continuance of the PTC at the parties’ request or by
11   stipulation is highly unlikely.          Specifically, failure to
12   complete discovery is not a ground for continuance.
13         At the PTC, the parties should be prepared to discuss
14   means of streamlining the trial, including, but not limited
15   to:   bifurcation; presentation of foundational and non-
16   critical testimony and direct testimony by deposition
17   excerpts; narrative summaries and/or stipulations as to the
18   content of testimony; presentation of testimony on direct
19   examination by affidavit or by declaration subject to cross-
20   examination; and qualification of experts by admitted
21   resumes.     The Court will also discuss settlement.
22         (b)   Form of Pre-Trial Conference Order (“PTCO”)
23         The proposed PTCO shall be filed by the date specified on
24   the last page of this Order.        Adherence to this time
25   requirement is necessary for in-chambers preparation of the
26   matter.     The PTCO shall include the date of the L.R. 16-2
27   conference and the names of each attorney in attendance at
28   the L.R. 16-2 conference.        The form of the proposed PTCO

                                         19
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 20 of 33 Page
                                 ID #:16683


 1   shall comply with Appendix A to the Local Rules and the
 2   following:
 3             (1) Place in “ALL CAPS” and in bold the separately
 4   numbered headings for each category in the PTCO (e.g., “1.
 5   THE PARTIES” or “7.      CLAIMS AND DEFENSES OF THE PARTIES”).
 6             (2) Include a Table of Contents at the beginning.
 7             (3) In specifying the surviving pleadings, state
 8   which claims or counterclaims have been dismissed or
 9   abandoned (e.g.,“Plaintiff’s second cause of action for
10   breach of fiduciary duty has been dismissed.”). Also, in
11   multiple party cases where not all claims or counterclaims
12   will be prosecuted against all remaining parties on the other
13   side, specify to which party each claim or counterclaim
14   is directed.
15             (4) In drafting the PTCO, the Court expects that
16   the parties will attempt to agree on and set forth as many
17   uncontested facts as possible.           A carefully drafted and
18   comprehensively stated stipulation of facts will assist the
19   Court in preparing for the Pre-Trial Conference.
20             (5) In specifying the parties’ claims and defenses
21   in Section 7 of the PTCO, each party shall closely follow the
22   examples set forth in Appendix A of the Local Rules.
23             (6) The Court may submit fact issues to the jury in
24   the form of findings on a special verdict form.             The issues
25   of fact should track the elements of a claim or defense on
26   which the jury will be required to make findings.
27             (7) If expert witnesses are to be called at trial,
28   each party must list and identify its respective expert

                                         20
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 21 of 33 Page
                                 ID #:16684


 1   witnesses, both retained and non-retained.            Failure of a
 2   party to list and identify an expert witness in the PTCO
 3   shall preclude the party from calling that expert witness at
 4   trial.
 5        (c) Rule 16 Filings; Memoranda; Witness Lists; Exhibit
 6             Lists; Numbering of Exhibits
 7        The parties must comply fully with the requirements of
 8   Local Rule 16.     They shall file carefully prepared Memoranda
 9   of Contentions of Fact and Law (which may also serve as the
10   trial brief), along with their respective Witness Lists and
11   Exhibit Lists, in accordance with the Local Rules unless
12   otherwise noted or modified by this Order.
13        Trial Exhibits shall be numbered in accordance with this
14   Order and not the Local Rules.           Prior to the Local Rule 16-2
15   meeting, the parties shall designate the approximate number
16   of exhibits they each intend to offer at trial and then
17   assign a range of numbers for that party to use in numbering
18   its exhibits.    For example, the parties may assign numbers 1
19   through 50 to Plaintiff, and numbers 51 through 100 to
20   Defendant.    Plaintiff shall then sequentially number its
21   trial exhibits from 1 to 50; Defendant shall sequentially
22   number its exhibits from 51 to 100.           No two exhibits shall
23   bear the same number. The Court recognizes that not all
24   assigned numbers may be used by the parties, and that there
25   may be gaps in the numerical sequence on the Exhibit List and
26   Pre-trial Exhibit Stipulation. Once an exhibit has been
27   assigned an exhibit number in the Exhibit List or Pre-trial
28

                                         21
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25    Page 22 of 33 Page
                                 ID #:16685


 1   Exhibit Stipulation filed with the Court, that exhibit number
 2   shall not change and shall be used for that exhibit at trial.
 3        (d) Summary of Witness Testimony and Time Estimates
 4        Counsel shall prepare a list of their witnesses,
 5   including a brief summary (two to three paragraphs) of each
 6   witness’s expected testimony, an estimate of the length of
 7   time needed for direct examination, and whether the witness
 8   will testify by deposition or in person.              Counsel shall
 9   exchange these lists with opposing counsel.              Counsel shall
10   jointly file a single list of witness testimony summaries,
11   including estimates for direct examination of their own
12   witnesses and estimates for cross-examination of opposing
13   witnesses.     The joint witness testimony summaries shall be
14   filed at the same time counsel submit the PTCO.              If a party
15   intends to offer deposition testimony into evidence at trial,
16   the party shall comply with the Local Rules.
17        (e) Pre-Trial Exhibit Stipulation
18        The parties shall prepare a Pre-Trial Exhibit Stipulation
19   which shall contain each party’s numbered list of all trial
20   exhibits, with objections, if any, to each exhibit including
21   the basis of the objection and the offering party’s response.
22   All exhibits to which there is no objection shall be deemed
23   admitted.    The parties shall also identify each witness they
24   anticipate will testify about and/or lay the foundation for
25   the exhibit.     All parties shall stipulate to the authenticity
26   of exhibits whenever possible, and the Pre-Trial Exhibit
27   Stipulation shall identify any exhibits for which
28

                                         22
Case 2:24-cv-02692-JFW-MBK       Document 113 Filed 04/21/25     Page 23 of 33 Page
                                     ID #:16686


 1   authenticity has not been stipulated to and the specific
 2   reasons for the party’s failure to stipulate.
 3            The Pre-Trial Exhibit Stipulation shall be substantially
 4   in the following form:
 5                            Pre-Trial Exhibit Stipulation
 6   Plaintiff(s)’ Exhibits
 7   Number    Description   Witness   If Objection, State Grounds   Response to Objection

 8   Defendant(s)’ Exhibits
 9   Number    Description   Witness   If Objection, State Grounds   Response to Objection

10            The Pre-Trial Exhibit Stipulation shall be filed at the
11   same time counsel file the PTCO.                Failure to comply with this
12   paragraph shall constitute a waiver of all objections.
13   DO NOT SUBMIT BLANKET OR BOILERPLATE OBJECTIONS TO THE
14   OPPOSING PARTY’S EXHIBITS. THESE WILL BE DISREGARDED AND
15   OVERRULED.
16            (f) Jury Instructions, Verdict Forms, Special
17                 Interrogatories
18            Fourteen days before the required Local Rule 16-2
19   meeting, the parties shall exchange proposed jury
20   instructions, verdict forms, and, if necessary, special
21   interrogatories.          Seven days before the meeting, counsel
22   shall exchange written objections, if any, to the proposed
23   jury instructions, verdict forms, and special
24   interrogatories.          At the required meeting, lead counsel shall
25   confer with the objective of submitting one set of agreed
26   upon instructions, a verdict form, and, if necessary, special
27   interrogatories.
28   / / /

                                               23
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 24 of 33 Page
                                 ID #:16687


 1        If lead counsel agree upon one complete set of jury
 2   instructions, they shall file a joint set of proposed jury
 3   instructions, arranged in a logical sequence with each
 4   instruction sequentially numbered, and identified as
 5   “Stipulated Instruction No. __ Re ______,” with the blanks
 6   filled in as appropriate.        If the parties cannot agree upon
 7   one complete set of jury instructions, they shall file the
 8   following two joint documents with the Court:
 9             (1)    A joint set of proposed jury instructions
10   arranged in a logical sequence with each instruction
11   sequentially numbered.       If undisputed, an instruction shall
12   be identified as “Stipulated Instruction No. __ Re ________,”
13   with the blanks filled in as appropriate.             If disputed, each
14   alternate version of the disputed instruction shall be
15   inserted together (back to back) in their logical place in
16   the overall sequence.       Each such disputed instruction shall
17   be identified as “Disputed Instruction No. __ Re ________
18   Proposed By     ________,” with the blanks filled in as
19   appropriate.     All disputed versions of an instruction shall
20   bear the same instruction number.         If a party does not have a
21   counter-version of an instruction and simply contends no such
22   instruction should be given, then that party should so state
23   (and explain why) on a separate page inserted in lieu of an
24   alternate version; and
25             (2)    A joint memorandum of law in support of each
26   party’s disputed instructions, organized by instruction
27   number.   The joint memorandum of law shall quote the text of
28   each disputed instruction and shall set forth each party’s

                                         24
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 25 of 33 Page
                                 ID #:16688


 1   respective position and legal authority, immediately after
 2   the text of each disputed instruction.
 3        Each proposed instruction, whether agreed upon or
 4   disputed, shall (a) be set forth in full on a separate page;
 5   (b) embrace only one subject or principle of law; (c) cite to
 6   the legal authority for or source of the instruction; and (d)
 7   reference the claim for relief to which the instruction
 8   relates with a citation to Section 7 of the PTCO.
 9         A Table of Contents shall be included with all jury
10   instructions submitted to the Court.          The Table of Contents
11   shall set forth the following:
12             (1) The number of the instruction;
13             (2) A brief title of the instruction;
14             (3) Whether it is undisputed or disputed;
15             (4) The source of the instruction; and
16             (5) The page number of the instruction.
17   For example:
18   Number    Title                  Source                  Page No.
19   1         Burden of Proof        9th Cir. Man.              5
               (Undisputed)           of Model Jury
20                                    Instr. 5.1
21        The Court directs counsel to use the instructions from
22   the Ninth Circuit Manual of Model Jury Instructions (West
23   Publishing, most recent edition) where applicable.              Where
24   California law is to be applied and the above instructions
25   are not applicable, the Court prefers counsel to use the
26   Judicial Council of California Civil Jury Instructions
27   (“CACI”) (LexisNexis Matthew Bender, most recent edition).
28   If neither of these sources is applicable, counsel are

                                         25
Case 2:24-cv-02692-JFW-MBK    Document 113 Filed 04/21/25   Page 26 of 33 Page
                                  ID #:16689


 1   directed to use the instructions from O’Malley, Grenig and
 2   Lee, Federal Jury Practice and Instructions (West Group, most
 3   recent edition).        Any modifications made to the original form
 4   instruction from the foregoing sources (or any other form
 5   instructions) must be specifically identified, along with the
 6   authority supporting the modification.            Counsel shall not
 7   submit proposed preliminary instructions that are given to
 8   the jury prior to opening statements.
 9        If the parties agree upon a verdict form and/or special
10   interrogatories, they shall file a joint verdict form and/or
11   special interrogatories, with the questions arranged in a
12   logical sequence.        If the parties cannot agree upon a verdict
13   form and/or special interrogatories, they shall file a joint
14   document containing each party’s alternative version along
15   with a brief explanation of each party’s respective position.
16        The joint set of proposed jury instructions, the joint
17   memorandum of law, and verdict form(s) and/or special
18   interrogatories are to be filed with the PTCO and other Local
19   Rule 16 documents.        Courtesy Copies shall be provided to the
20   Court in accordance with Section 3 of the Court’s Standing
21   Order.   In addition, the parties shall e-mail the joint set
22   of proposed jury instructions, joint memorandum of law, and
23   verdict form(s) and/or special interrogatories in WordPerfect
24   or Word format to the Chambers’ e-mail address
25   (JFW_Chambers@cacd.uscourts.gov) at the time of filing.
26        Immediately after the Court’s final ruling on the
27   disputed jury instructions, counsel shall file one final
28   “clean set” of jury instructions, which shall be sent into

                                          26
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 27 of 33 Page
                                 ID #:16690


 1   the jury room for the jury’s use during deliberations.               The
 2   “clean set” shall contain only the text of each instruction
 3   set forth in full on each page, with the caption “Court’s
 4   Instruction No. ___” (eliminating supporting authority,
 5   citations to the PTCO, etc.).         Counsel shall also e-mail the
 6   final “clean set” of jury instructions in WordPerfect or Word
 7   format to the Chambers’ e-mail address
 8   (JFW_Chambers@cacd.uscourts.gov) at the time of filing.
 9        Caveat:     The failure of any counsel to comply with or
10   cooperate in all of the foregoing procedures regarding jury
11   instructions and/or verdict forms will constitute a waiver of
12   all objections to the jury instructions and/or verdict form
13   used by the Court or will constitute a waiver of jury trial
14   and/or the striking of the jury demand.
15        (g) Real-Time Reporting Requirement
16        Each party must file with the Court, at the same time
17   counsel submit the PTCO, a document for the Court Reporter
18   which contains proper names, unusual or scientific terms, or
19   any foreign or uncommon words that are likely to be used by
20   the parties during the PTC and the Trial.             Each party shall
21   also e-mail a copy of the document to the Chambers’ e-mail
22   address (JFW_Chambers@cacd.uscourts.gov) at the time of
23   filing.
24        (h) Joint Statement of the Case and Requests for Voir
25             Dire
26        Three days prior to the Pre-Trial Conference, the parties
27   shall file their proposed voir dire questions and their joint
28   statement of the case which the Court shall read to all

                                          27
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 28 of 33 Page
                                 ID #:16691


 1   prospective jurors prior to the commencement of voir dire. The
 2   statement should be not longer than two or three paragraphs.
 3        The Court conducts voir dire of all prospective jurors.
 4   The parties need not submit requests for standard voir dire
 5   questions, such as education, current occupation, marital
 6   status, prior jury service, etc., but should include only
 7   proposed questions specifically tailored to the parties and
 8   issues of the case.
 9   7.   COURT TRIALS
10        (a) Declarations of Witness Direct Testimony
11        Counsel in non-jury trials shall submit the direct
12   testimony of their witnesses in writing in declarations
13   executed under penalty of perjury.          These declarations shall
14   be in admissible form with an appropriate foundation
15   established for the declarant’s statements.            Paragraphs in
16   each declaration shall be numbered consecutively to facilitate
17   the identification of paragraphs for evidentiary objections.
18   Any exhibits which are attached to a witness declaration shall
19   be numbered consistently with the number of the exhibit on the
20   Pre-Trial Exhibit Stipulation.
21        Counsel are to exchange and file these declarations at
22   least fourteen calendar days before trial, unless otherwise
23   ordered by the Court.       Courtesy Copies shall be provided to
24   the Court in accordance with Section 3 of the Court’s Standing
25   Order.
26        Eleven calendar days before trial, counsel may file
27   evidentiary objections to those declarations.             Counsel shall
28   prepare a separate document for each declaration for which

                                          28
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25    Page 29 of 33 Page
                                 ID #:16692


 1   they have an evidentiary objection in which they shall quote
 2   the specific language from the declaration to which they
 3   object, followed by the objection and any relevant argument.
 4        Counsel shall meet and confer in person and attempt to
 5   resolve the objections to the declarations.             For each
 6   declaration to which there is an objection, counsel shall file
 7   a separate joint statement by noon on the sixth calendar day
 8   before trial in the following format:
 9
10        Joint Statement Re: Objections to Witness Jane Doe
11        The parties were able to resolve the objections as to the
12   following testimony: [name of witness, declaration paragraph
13   and line].
14        The parties were not able to resolve the objections as to
15   the following testimony:
16   Disputed Testimony [name of witness, declaration paragraph and
17   line, followed by quote of the disputed testimony]
18   Plaintiff’s/Defendant’s Grounds for the Objection:               [Cite the
19   basis for the objection and the argument].
20   Plaintiff’s/Defendant’s Response to the Objection:
21
22        In conjunction with the joint statement, Counsel shall
23   also file a separate “Ruling Chart” for each witness in the
24   following format:
25   Plaintiff’s/Defendant’s Objections to Declaration of Jane Doe
26   Testimony                 Objection                   Ruling
27   Doe ¶ 3, 1:25-2:3         Fed. R. Evid. 602
28

                                          29
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 30 of 33 Page
                                 ID #:16693


 1        Courtesy Copies of the evidentiary objections, Joint
 2   Statements, and Ruling Chart shall be provided to the Court in
 3   accordance with Section 3 of the Court’s Standing Order.               DO
 4   NOT SUBMIT BLANKET OR BOILERPLATE OBJECTIONS TO THE OPPOSING
 5   PARTY’S WITNESS DECLARATIONS. THESE WILL BE DISREGARDED AND
 6   OVERRULED.
 7        At trial, the Court will rule on the evidentiary
 8   objections and, depending upon the ruling, the declarations
 9   will be received in evidence, either in whole or in part, or
10   rejected.    Counsel will then conduct the cross-examination and
11   re-direct examination at trial.
12        Failure to comply with the terms of this Order will
13   result in sanctions or the Court may refuse to allow that
14   witness to testify.
15        (b) Trial Briefs
16        Counsel for each party shall file and serve a trial
17   brief, not to exceed 15 pages in length, fourteen calendar
18   days before trial.
19        (c) Findings of Fact and Conclusions of Law
20        Counsel for each party shall file and serve initial
21   proposed findings of fact and conclusions of law fourteen
22   calendar days before trial.        Counsel for each party shall also
23   e-mail a copy of their proposed findings of fact and
24   conclusions of law to the Chambers’ e-mail address
25   (JFW_Chambers@cacd.uscourts.gov) on the date due.              Counsel for
26   each party shall then:
27               (1)   Underline in red the portions which it
28                     disputes;

                                          30
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 31 of 33 Page
                                 ID #:16694


 1             (2)     Underline in blue the portions which it
 2                     admits; and
 3             (3)     Underline in yellow the portions which it does
 4                     not dispute, but deems irrelevant.
 5        Counsel may agree with a part of a finding or conclusion,
 6   disagree with a part of it, and/or consider a part of it
 7   irrelevant.
 8        The marked copy of opposing counsel’s proposed findings
 9   of fact and conclusions of law shall be filed with the Court
10   and served on opposing counsel eight calendar days before
11   trial.   Courtesy Copies shall be provided to the Court in
12   accordance with Section 3 of the Court’s Standing Order.
13   8.   SETTLEMENT
14        This Court will not conduct settlement conferences in
15   non-jury cases which the Court will try unless counsel for all
16   parties and their respective clients agree either in
17   writing or on the record.        In jury cases, the Court will
18   conduct a settlement conference at the parties’ joint request
19   if three conditions exist: (1) the parties are satisfied that
20   the fact issues in the case will be tried to a jury; (2) all
21   significant pre-trial rulings which the Court must make have
22   been made; and (3) the parties desire the Court to conduct the
23   conference, understanding that if settlement fails, the Court
24   will preside over trial of the case.
25        The parties must file a Status Report re: Settlement at
26   the time they lodge the Proposed Pre-Trial Conference Order.
27   The Status Report shall include the name and phone number of
28

                                          31
Case 2:24-cv-02692-JFW-MBK   Document 113 Filed 04/21/25   Page 32 of 33 Page
                                 ID #:16695


 1   the Settlement Officer who assisted the parties with their
 2   settlement conference.
 3        Caveat:    If counsel fail to cooperate in the preparation
 4   of the required Pre-Trial documents, fail to file the required
 5   Pre-Trial documents, or fail to appear at the Pre-Trial
 6   Conference and such failure is not otherwise satisfactorily
 7   explained to the Court: (1) the cause shall stand dismissed
 8   for failure to prosecute if such failure occurs on the part of
 9   the plaintiff; (2) default judgment shall be entered if such
10   failure occurs on the part of the defendant; or (3) the Court
11   may take such action as it deems appropriate.
12
13        IT IS SO ORDERED.
14
     DATED:    April 21, 2025
15
                                               JOHN F. WALTER
16                                     UNITED STATES DISTRICT JUDGE
17
18
19
20
21
22
23
24
25
26
27
28

                                          32
Case 2:24-cv-02692-JFW-MBK                Document 113 Filed 04/21/25       Page 33 of 33 Page
                                              ID #:16696


 1                               JUDGE JOHN F. WALTER
                          SCHEDULE OF TRIAL AND PRE-TRIAL DATES
 2
 3    Matter                               Time      Weeks Plaintiff(s)    Defendant(s)      Court
                                                     before (Request)      (Request)         Order
 4                                                   trial
      Trial (court)                        8:30 am                                              2/3/26
 5    Estimated length: 1 day

 6    [Jury trial] Hearing on Motions      8:00 am                                                  X
      in Limine; Hearing on Disputed
 7    Jury Instructions

 8    [Court trial] Hearing on Motions     8:00 am                                                  X
      in Limine
 9    Pre-Trial Conference (File           8:00 am                                              waived
      Proposed Voir Dire Qs and
10    Agreed-to Statement of Case
      three days prior to PTC)
11
      Submit Pre-Trial Conf. Order;                                                                 X
12    File Motions in Limine; Memo of
      Contentions of Fact and Law;
13    Pre-Trial Exhibit Stipulation;
      Summary of Witness Testimony
14    and Time Estimates; File Status
      Report re: Settlement; File
15    Agreed Upon Set of Jury
      Instructions and Verdict Forms;
16    File Joint Statement re Disputed
      Instructions, Verdicts, etc.
17
      Last day for hearing motions *       1:30 pm                                              12/1/25
18
      Discovery cut-off                                                                          N/A
19
     ADDITIONAL MATTERS TO BE DETERMINED AT SCHEDULING
20   CONFERENCE
21    Last day to conduct Settlement                                                            6/23/25
      Conference/Mediation
22
      Last day to file Joint Report re:                                                         6/27/25
23    results of Settlement
      Conference/Mediation
24
25   * Motions for class certification shall be filed within 120 days after service of a pleading
26   purporting to commence a class action (or, if applicable, within 120 days after service of the Notice
     of Removal), unless otherwise ordered by the Court.
27
28   Rev. 12-17-2024


                                                        33
